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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 VS.                                                              CASE NO: 2:14-cr-135-FtM-38CM

 JEROME ANTONIO VAUGHN


                                                 ORDER1

         This matter comes before the Court on the Defendant, Jerome Antonio Vaughn’s

 Motion to Dismiss (Doc. #100) filed on September 29, 2015. The United States of

 America (Government) filed its Response in Opposition (Doc. #102) on October 9, 2015.

 The Motion is fully briefed and ripe for the Court’s review.

                                             BACKGROUND

         The Grand Jury returned a three (3) count Indictment against the Defendants,

 Leslie Chin, his brother Andrew Chin, and Jerome Vaughn on December 3, 2014.

 Vaughn, Leslie Chin, and Andrew Chin were charged in Count I of the Indictment with

 conspiring with each other and with other persons, both known and unknown to the Grand

 Jury, from in or about 2005, to in or about 2013, in Charlotte County in the Middle District

 of Florida, and elsewhere, to possess and distribute five or more kilograms of cocaine,

 [twenty-eight] 28 or more grams of cocaine base, crack cocaine, and an unspecified

 amount of marijuana. Vaughn was not charged in the remaining Counts of the Indictment.


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 hyperlink ceases to work or directs the user to some other site does not affect the opinion of the Court.
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        Vaughn is currently serving a fifteen (15) year sentence in South Carolina after

 pleading guilty to trafficking in cocaine, trafficking in crack cocaine, and possession of

 stolen weapon, in Sumter County, South Carolina on February 19, 2013. On January 27,

 2015, Vaughn was brought to this jurisdiction pursuant to writ to answer the conspiracy

 charges in the instant indictment.

        On April 17, 2012, Florida Highway Patrol (FHP) stopped defendant Leslie Chin

 on Veterans Parkway in Charlotte County, Florida for driving 60 miles per hour (mph) in

 a 45mph speed zone. The vehicle was registered to Andrew Chins’ girlfriend L.P.S. A

 drug enforcement K-9 was called to the scene. The K-9 alerted to narcotics in the vehicle.

 After searching the vehicle, Troopers discovered a hidden compartment in the vehicle’s

 dashboard.    The compartment contained marijuana residue and an ION scan test

 revealed trace amounts of cocaine. On April 24, 2012, Leslie Chin visited Andrew Chin

 who was incarcerated in Charlotte County on unrelated charges. During the visit, the

 Chin brothers discussed the placement of the front airbag in the trunk of the vehicle after

 it had been removed from the vehicle’s dashboard. Andrew Chin advised Leslie Chin to

 caution everyone that they needed to do a better job of hiding the removed airbag when

 they placed the front airbag in the trunk of the car.

        Subsequent to the April 17, 2012, stop, the Government recovered photos of

 Vaughn with Co-Defendant, Leslie Chin from sometime in March of 2012 taken off of

 Chin’s cell phone. In that photo, Vaughn is shown holding a bag and a stack of currency.

 Leslie Chin is also shown holding what appears to be the same bag and stack of currency.

 The Government alleges that this photo was taken while Leslie Chin visited Sumter, South

 Carolina. The cell phone’s GPS feature shows the photos were taken in hotel rooms on




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 Broad Street in Sumter, South Carolina. The hotel records show that Leslie Chin stayed

 at the Super 8 motel in Sumter, South Carolina, on February 25, 2012, the Quality Inn

 hotel in Sumter on March 2, 2012, and again on March 12, 2012. On March 12, 2012,

 prior to leaving the Quality Inn in Sumter, Leslie Chin left a hand written note at the front

 desk of the hotel requesting the hotel staff to maintain his $100.00 deposit for Jerome

 Vaughn. Records further show that on April 7, 2012, Leslie Chin again stayed at the

 Quality Inn hotel in Sumter, South Carolina.

        Other facts that the Court will analyze to rule on the underlying motion took place

 prior to 2012 wherein on September 21, 2011, the Florida Highway Patrol (FHP) stopped

 Leslie Chin. Riding with Chin in the vehicle was a passenger, B.D. Leslie Chin stated

 that he was driving B.D. to the airport. B.D. was dressed as a flight attendant and told

 Troopers that he was a flight attendant and Chin was taking him to the Fort Myers airport

 for B.D. to catch a flight to JFK in New York. The FHP had a drug enforcement K-9 sniff

 the vehicle and the dog alerted to the presence of narcotics. Troopers searched the

 vehicle and uncovered three (3) grams of cocaine on the right passenger side floorboard

 along with $50,840 in cash. Additionally B.D. had $7,190 on his person.

        Leslie Chin later advised unindicted co-conspirator H.C. from South Carolina that

 he had a flight attendant who transported money for him from Florida to Atlanta for the

 organization that supplied Chin with cocaine. Leslie Chin advised H.C. that he and the

 flight attendant were arrested in Florida with a small amount of cocaine and $58,000.00

 in cash. Leslie Chin told H.C. that the money seized was his and that the flight attendant

 was delivering the money to Atlanta as payment for the future purchase of cocaine.




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        Witness H.C. will allegedly testify that sometime in 2011, when H.C. was

 incarcerated, H.C. put Leslie Chin in contact with Vaughn. H.C. states that a few weeks

 later, still in 2011, Leslie Chin delivered ten (10) to fifteen (15) ounces of cocaine and one

 to two pounds of marijuana to Vaughn in South Carolina. H.C. also states that he and

 Vaughn drove to Atlanta, Georgia, to purchase cocaine from Leslie Chin and a person

 identified as J.B., however, the cocaine purchase was unsuccessful. H.C. says that

 approximately a month later he and Vaughn purchased three (3) kilograms of cocaine

 from Leslie Chin in Sumter, South Carolina. Vaughn distributed the cocaine through his

 network in South Carolina.

        Witness A.B.J.H. offers testimony alleging that Leslie Chin along with a person

 identified as Jon B. delivered cocaine and crack cocaine, and marijuana, to Vaughn three

 (3) times in 2011. A.B.J.H. said the deliveries all occurred in Sumter, South Carolina.

 A.B.J.H. will allegedly testify that Vaughn distributed the drugs through his South Carolina

 network. A.B.J.H. also says that he and Leslie Chin returned to South Carolina to pick

 up cash for the drugs.

        Witness M.K. purchased user amounts of cocaine from Vaughn and received

 cocaine as payment for doing mechanic work on Vaughn’s cars.                  M.K. told the

 Government that Vaughn once asked him to drive with him to Atlanta to pick up some

 cocaine, but the trip never occurred. That is all of M.K.’s testimony.

        Witness H.L. will allegedly testify that he supplied Vaughn with approximately

 anywhere from two (2) ounces to two (2) kilograms of cocaine, however, H.L. has no

 information or knowledge about Vaughn’s alleged involvement in an eight (8) year drug

 conspiracy.




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                                 STANDARD OF REVIEW

        In criminal proceedings, there is no summary judgment mechanism. U.S. v.

 Faircloth, No. 2:14-CR-76-FTM-38MRM, 2015 WL 4757192, at *1-2 (M.D. Fla. Aug. 12,

 2015) (citing U.S. v. Critzer, 951 F.2d 306, 307 (11th Cir.1992) (per curiam)). “Nor do the

 rules provide for a pre-trial determination of sufficiency of the evidence.” Faircloth, 2015

 WL 4757192, at *1-2. This, of course, is because the resolution of factual questions is

 the sole province of the jury. Id. (citing U.S. v. Antonucci, 663 F. Supp. 243, 245

 (N.D.Ill.1987) (“At the motion to dismiss stage, however, [the court] cannot decide as a

 matter of law something which turns on the specific facts of th[e] case.”)). “Moreover, this

 court is constitutionally barred from ruling on a hypothetical question.” Critzer, 951 F.2d

 at 307. A motion to dismiss an indictment targeted at the substance of the offense may

 therefore only be granted if there is a legal infirmity in the indictment. Faircloth, 2015 WL

 4757192, at *1-2; U.S. v. Belcher, 927 F.2d 1182, 1185 (11th Cir.1991) (citing U.S. v.

 Torkington, 812 F.2d 1347, 1354 (11th Cir.1987)). Thus, if the factual allegations of the

 indictment are sufficient to state the offense charged, the indictment is not deficient and

 a motion to dismiss aimed at the substance of the charge must be denied. U.S. v.

 Ferguson, 142 F.Supp.2d 1350, 1353–1354 (S.D.Fla.2000).

        Issues which are properly raised, and decided, by a pretrial motion to dismiss are

 those that are “capable of determination without the trial of the general issue.” Fed. R.

 Crim. P. 12(b). Included amongst these issues are jurisdictional claims that “the

 applicable statute is unconstitutional or that the indictment fails to state an offense.”




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 Faircloth, 2015 WL 4757192, at *1-2 (quoting U.S. v. Montilla, 870 F.2d 549, 552 (9th

 Cir.1989)). “As the language of the rule indicates, when the issue raised involves a

 question that may not be determined without ‘trial of the general issue’ it is not proper for

 a decision by pretrial motion.” Faircloth, 2015 WL 4757192, at *1-2.

         The ‘general issue’ has been defined as evidence relevant to the question of guilt

 or innocence.” U.S. v. Ayarza–Garcia, 819 F.2d 1043, 1048 (11th Cir.1987); see also U.S.

 v. Alfonso, 143 F.3d 772, 777 (2nd Cir.1998). If a claim or defense, even a constitutional

 one, implicates the “general issue,” the proper procedure is to defer ruling until after the

 prosecution has presented its case. See Ayarza–Garcia, 819 F.2d at 1048. After the

 prosecution's case-in-chief has been presented, a legal issue that is intertwined with the

 underlying facts of the case may be properly addressed through a motion for judgment of

 acquittal, pursuant to Fed. R. Crim. P. 29 or submitted to the jury. See id. at 1048–49;

 Fed. R. Crim. P. 12(e).

         In sum, the Court's review at this stage of the proceeding is very limited. The Court

 may dismiss the case based upon: (1) a legal infirmity or defect in the charging instrument;

 or (2) a purely legal question, such as a determination that the statute is unconstitutional.

 Any issues that require consideration of the facts underlying this prosecution, however,

 are not the proper subject of a pretrial motion to dismiss. Ferguson, 142 F.Supp.2d at

 1353.

                                        DISCUSSION

          Vaughn argues the facts presented by the Government do not support the

 Government’s allegations that he was participated in a conspiracy with the Co-

 Defendants involving the sale or distribution of cocaine, crack cocaine, or marijuana in




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 Charlotte County, Florida or the Middle District of Florida or any other act in furtherance

 of the alleged conspiracy in this District. Vaughn contends that any acts involving his

 participation in the sale and distribution of cocaine, crack cocaine, and marijuana took

 place in South Carolina. Therefore, Vaughn argues that venue is improper in the Middle

 District of Florida and the case must be dismissed against him because he did not commit

 any acts in furtherance of the alleged conspiracy within the Middle District of Florida.

        The Government argues that the question of whether the evidence establishes a

 single conspiracy is a fact finding for the jury and, even if multiple conspiracies arguably

 exist, there will be no variance if, viewing the evidence in the light most favorable to the

 Government, a reasonable trier of fact could find beyond a reasonable doubt the

 existence of a single conspiracy. U.S. v. Reed, 980 F.2d 1568, 1581 (11th Cir.1993), cert.

 denied, 509 U.S. 932 (1993); U.S. v. Prince, 883 F.2d 953, 959 (11th Cir.1989).

        Thus, the Court must review the evidence to determine if a conspiracy existed and

 whether or not venue is proper to prosecute Vaughn as part of that conspiracy in the

 Middle District of Florida.

                                (1) Whether a Conspiracy Existed

        To determine whether a jury could reasonably find that the evidence establishes a

 single conspiracy beyond a reasonable doubt, the Court must consider: (1) whether a

 common goal existed; (2) the nature of the underlying scheme; and (3) the overlap of

 participants. United States v. Huff, 609 F.3d 1240, 1243 (11th Cir. 2010).             “The

 government must establish interdependence amongst the co-conspirators.” U.S. v.

 Seher, 562 F.3d 1344, 1366 (11th Cir.2009). The Eleventh Circuit has explained that:

            The existence of separate transactions does not have to imply
            separate conspiracies if the co-conspirators acted in concert to




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           further a common goal. Courts typically define the common goal
           element as broadly as possible, with “common” being defined as
           “similar” or “substantially the same.” If a defendant's actions
           facilitated the endeavors of other co-conspirators, or facilitated
           the venture as a whole, then a single conspiracy is shown. Each
           co-conspirator thus does not have to be involved in every part of
           the conspiracy.

 Id. (quotations and citations omitted).

        In this instance, the Government produced evidence that Vaughn and Leslie Chin

 had contact with each other in Sumter, South Carolina. Witness A.B.J.H. will offer

 testimony alleging that Leslie Chin along with a person identified as Jon B. delivered

 cocaine and crack cocaine, and marijuana, to Vaughn three (3) times in 2011. Witness

 H.C. will testify that sometime in 2011, when H.C. was incarcerated, H.C. put Leslie Chin

 in contact with Vaughn. H.C. states that a few weeks later, still in 2011, Leslie Chin

 delivered ten (10) to fifteen (15) ounces of cocaine and one (1) to two (2) pounds of

 marijuana to Vaughn in South Carolina. Further the photo evidence taken from Chin’s

 cell phone after a traffic stop on April 17, 2012, demonstrates a connection between

 Vaughn and Leslie Chin involving the sale and distribution of narcotics.

        Vaughn pled guilty to selling cocaine, crack cocaine, and marijuana in South

 Carolina. The Government has presented witnesses that will testify that Leslie Chin

 delivered cocaine, crack cocaine, and marijuana from Charlotte County, Florida to

 Vaughn in South Carolina. There is photographic evidence that Vaughn and Chin knew

 one another and Vaughn’s contact information was found on Leslie Chin’s cell phone.

 Therefore, there is sufficient evidence that Chin and Vaughn had a common goal in an

 underlying scheme to distribute and sell narcotics. As such, the Government provides

 sufficient evidence to establish that a conspiracy existed between Vaughn and Chin to

 distribute and sell cocaine, crack cocaine and marijuana.




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                  (2) Whether Venue is Proper in the Middle District of Florida

       “This Court reviews a challenge to venue in the light most favorable to the

 government . . . .” U.S. v. Matthews, 168 F.3d 1234, 1246 (11th Cir.) opinion amended

 on denial of reh'g sub nom. U.S. v. Moore, 181 F.3d 1205 (11th Cir. 1999) (quoting U.S.

 v. Smith, 918 F.2d 1551, 1557 (11th Cir.1990)). Title 18 of the United States Code,

 governing the jurisdiction and venue of the federal courts, provides that “any offense

 begun in one district and completed in another, or committed in more than one district,

 may be inquired of and prosecuted in any district in which such offense was begun,

 continued, or completed.” 18 U.S.C. 3237(a). Where a conspiracy is concerned, venue is

 thus proper in any district where “an overt act” was committed in furtherance of the

 conspiracy. Matthews, 168 F.3d at 1246 (citing U.S. v. Moore, 181 F.3d 1205 (11th Cir.

 1999)). The overt act need not be committed by a defendant in the case; the acts of

 accomplices and unindicted co-conspirators can also expose the defendant to jurisdiction.

 Matthews, 168 F.3d at 1246 (citing U.S. v. Delia, 944 F.2d 1010, 1014 (2d Cir.1991)).

 Moreover, the fact that a majority of a conspiracy's activity took place in a venue other

 than the one where the trial takes place does not destroy venue. U.S. v. Dabbs, 134 F.3d

 1071, 1079 (11th Cir.1998).

       The evidence presented by the Government establishes that Leslie Chin operated

 his alleged illegal narcotics business out of Charlotte County, Florida within the Middle

 District of Florida, Fort Myers, Division. The evidence also establishes that Vaughn

 distributed and sold cocaine, crack cocaine, and marijuana out of Sumter, South Carolina.




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 The evidence presented by the Government also demonstrates that Vaughn and Leslie

 Chin had contact in Sumter, South Carolina and that Leslie Chin travelled to Sumter from

 Charlotte County, Florida to allegedly sell cocaine, crack cocaine, and marijuana to

 Vaughn for distribution through his network in South Carolina.

        Contrary to Vaughn’s position, merely because he maintained his end of the

 alleged conspiracy in Sumter, South Carolina, while Leslie Chin operated in Charlotte

 County, Florida does not mean venue is improper in the Middle District of Florida. Id. As

 noted above “any offense begun in one district and completed in another, or committed

 in more than one district, may be inquired of and prosecuted in any district in which such

 offense was begun, continued, or completed.” 18 U.S.C. § 3237(a). Therefore, since

 Leslie Chin’s operation originated in Charlotte County, Florida within the Middle District

 of Florida and Chin travelled from Charlotte County, Florida to South Carolina to deliver

 cocaine, crack cocaine, and marijuana to Vaughn, the Middle District of Florida is a proper

 venue for this case. Matthews, 168 F.3d at 1246.

                                       CONCLUSION

        Based upon the information provided in the Parties Memoranda of Law, the Court

 finds, at this point in the proceedings, that there is sufficient evidence for a reasonable

 juror to find that a conspiracy to distribute and sell cocaine, crack cocaine, and marijuana

 between Vaughn, Leslie Chin, and Andrew Chin existed. Further the Court finds that

 venue in the Middle District of Florida is a proper venue as authorized by 28 U.S.C. §

 3237 to prosecute this action. Therefore, the Motion to Dismiss is due to be denied.




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       Accordingly, it is now

       ORDERED:

       The Defendant, Jerome Antonio Vaughn’s Motion to Dismiss (Doc. #100) is

 DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this 30th day of November, 2015.




 Copies: Counsel of Record




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